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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 In the Matter of the Petition of DALIA
 GENGER, as Trustee of the Orly Genger 1993              SDNY Case No. 19-cv-9365 (UA)
 Trust Established on Dec.13, 1993 by Arie
 Genger, grantor.
 ________________________________________

 Dalia Genger, trustee of The Orly Genger 1993
 Trust,
        Petitioner,                                      N.Y. Cty. Surrogate’s Court File
                                                         No.: 2008-0017/E
                - against -
 Orly Genger, Arie Genger, Glenclova Investment
 Company, TR Investors, LLC, New TR Equtiy I,
 LLC, New TR Equity II, LLC, Trans-Resources,
 Inc., Arnold Broser, David Broser, John Does 1-
 20, and Jane Does 1-20,
        Respondents.

                              STATEMENT UPON REMOVAL

              Pursuant to Rule 9027(e)(3), The Orly Genger 1993 Trust does not consent to

entry of final orders or judgment by a United States Bankruptcy Judge.

              The Orly Genger 1993 Trust will file a motion to remand this matter to

Surrogate’s Court and will oppose any motion to transfer to the Western District of Texas.


Dated: October 22, 2019                             Respectfully submitted,
       New York, NY
                                                    POLLOCK COHEN LLP

                                                    By: /s/ Adam Pollock
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                                                    through Michael Oldner, Trustee
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